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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



LETICIA SANTOS-GARCIA,

       Petitioner,

v.                                                   CASE NO. 8:12-cv-1730-T-30TGW
                                                 CRIM. CASE NO. 8:10-cr-469-T-30TGW
UNITED STATES OF AMERICA,

      Respondent.
______________________________/


                                         ORDER

       BEFORE THE COURT is Petitioner’s Amended Motion to Vacate, Set Aside or

Correct Sentence pursuant to 28 U.S.C. § 2255 (“motion”) (CV Doc. 5), and the

Government’s response to the motion (CV Doc. 8). Although granted the opportunity to do

so, Petitioner has not filed a reply to the response (See CV Doc. 6 at 3). Upon consideration,

the court concludes that Petitioner’s motion should be DENIED.

                                 Procedural Background

       Petitioner and her husband were charged by Indictment with conspiracy to distribute,

and to possess with intent to distribute, five kilograms or more of cocaine, in violation of 21

U.S.C. §§ 841(a)(1), 846, and 841(b)(1)(A)(ii) (Count One) (CR Doc. 1). On February 28,

2011, Petitioner pleaded guilty to Count One (CR Docs. 40, 61, 71). Petitioner was

sentenced to a total of sixty-three (63) months imprisonment to be followed by five years of
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supervised release (CR Docs. 70, 71). Petitioner appealed her conviction and sentence. On

March 27, 2012, the United States Court of Appeals for the Eleventh Circuit affirmed

Petitioner’s conviction and sentence (CR Docs. 98, 98-1).

       The Government does not challenge the timeliness of Petitioner’s motion. In the

motion, Petitioner presents four claims of ineffective assistance of counsel:

       Ground One: Defense counsel failed to challenge the amount and purity of
       drug;

       Ground Two: Defense counsel failed to challenge the Defendant’s “position”
       in the alleged “conspiracy” by requesting that the court order a “bill of
       particulars” F.R.C.P.(f)(7) from the government;

       Ground Three: Defense counsel failed to challenge the stated sentence, as he
       had miscalculated the Defendant’s sentence by several years, when he advised
       her to plead guilty; and

       Ground Four: Defense counsel failed to inform the Defendant of her options
       to go to trial, and cross-examine her accusers.

                                      Standard of Review

       The law regarding ineffective assistance of counsel claims is well settled and well

documented. In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court set forth

a two-part test for analyzing ineffective assistance of counsel claims:

       First, the defendant must show that counsel’s performance was deficient. This
       requires showing that counsel made errors so serious that counsel was not
       functioning as the “counsel” guaranteed the defendant by the Sixth
       Amendment. Second, the defendant must show that the deficient performance
       prejudiced the defense. This requires showing that counsel’s errors were so
       serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

Strickland, 466 U.S. at 687.


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       Strickland requires proof of both deficient performance and consequent prejudice.

Strickland, 466 U.S. at 697 (“There is no reason for a court deciding an ineffective assistance

claim . . . to address both components of the inquiry if the defendant makes an insufficient

showing on one.”). “[C]ounsel is strongly presumed to have rendered adequate assistance

and made all significant decisions in the exercise of reasonable professional judgment.” Id.,

466 U.S. at 690. “[A] court deciding an actual ineffectiveness claim must judge the

reasonableness of counsel’s challenged conduct on the facts of the particular case, viewed

as of the time of counsel’s conduct.” Id. at 690. Strickland requires that “in light of all the

circumstances, the identified acts or omissions were outside the wide range of professionally

competent assistance.” Id. at 690.

       Petitioner must demonstrate that counsel’s error prejudiced the defense because “[a]n

error by counsel, even if professionally unreasonable, does not warrant setting aside the

judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at 691-92.

To meet this burden, Petitioner must show “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different. A reasonable

probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694.

                                         Discussion

Ground One

       Petitioner complains that trial counsel was ineffective in failing to oppose the drug

amount and purity. This claim must be denied because it is vague, conclusory, and

unsupported by facts. Vague, conclusory, speculative, or unsupported claims cannot support

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an ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d 1551,1559 (11th Cir.

1991). Petitioner has not provided any evidence or argument in support of her implicit

contention that the determination regarding the amount of the drugs was incorrect.1

Consequently, Ground One warrants no relief.

Ground Two

        Petitioner contends that counsel was ineffective in failing to challenge her position in

the conspiracy “by requesting that the court order a ‘Bill of Particulars’ F.R.C.P. (f)(7) from

the Government.” (CV Doc. 5 at record p. 5). This claim is vague and unsupported by facts,

and therefore insufficient to sustain an ineffective assistance of counsel claim. Petitioner has

not provided any evidence or argument establishing a lesser role in the conspiracy, or what

additional relevant information a bill of particulars would have furnished. Moreover, counsel

challenged Petitioner’s role in the conspiracy by arguing for a minimal-role reduction, and

the Court awarded her a minor-role reduction (CR Doc. 82 at 7-13). Therefore, Petitioner

has failed to show either deficient performance or prejudice. Accordingly, Ground Two does

not warrant relief.

Ground Three

        In Ground Three, Petitioner appears to contend that prior to entering her guilty plea,

counsel was ineffective “as he had miscalculated the Defendant’s sentence by several years.

. . .” (CV Doc. 5 at docket p. 7). Initially, Petitioner’s claim that counsel “miscalculated

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         The Court notes that both parties agreed that the drug quantity was between 50 to 150 kilograms of cocaine
(CR Doc. 82 at 5-6). Moreover, Petitioner fails to allege or show how the purity of the cocaine was relevant to her
conviction or sentence.

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[her] sentence” is vague, conclusory, and unsupported by facts. Petitioner has not provided

any evidence or argument as to how counsel advised her regarding the applicable guidelines

range, or how long he estimated her sentence would be. Moreover, even if counsel had

estimated a lesser sentence, “[g]enerally, counsel’s erroneous predictions or estimates do not

rise to the level of deficient performance or render a plea involuntary.” Krecht v. United

States, 846 F.Supp.2d 1268, 1281 (S.D. Fla. 2012). See also Barker v. United States, 7 F.3d

629, 633 (7th Cir. 1993) (“misinformation from a defendant’s attorney, such as an incorrect

estimate of the offense severity rating, standing alone, does not constitute ineffective

assistance of counsel”); United States v. Sweeney, 878 F.2d 68, 69, 70 (2nd Cir. 1989)

(counsel’s “erroneous estimate” of guideline sentencing range not ineffective assistance).

Finally, during the plea colloquy the Court informed Petitioner regarding the range of

penalties, and Petitioner affirmed that no one had promised her anything in order to get her

to plead guilty (CR Doc. 61 at pp. 17-24).

       Petitioner has failed to demonstrate either deficient performance or prejudice.

Consequently, Ground Three does not warrant relief.

Ground Four

       Petitioner contends that counsel was ineffective in failing to inform her that she had

an option to go to trial and cross-examine her accusers. Review of the plea colloquy

confirms that the Court informed Petitioner in pertinent part that she had “a right to persist

in your plea of not guilty and to have this case go to trial. . .” and that “if this case went to

trial. . .the Government would call witnesses and your lawyer would have a right to cross-

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examine, that is ask questions, of any witnesses called by the Government.” (CR Doc. 61

at 13-14). Petitioner affirmed that she understood these rights (Id.). Therefore, prior to

entering her guilty plea, Petitioner was fully informed that she had the right to proceed to a

jury trial and confront her accusers. Consequently, under these circumstances, trial counsel’s

alleged failure to advise Petitioner of these constitutional rights did not result in any

prejudice.

       Moreover, in order to satisfy Strickland’s prejudice requirement, “the defendant must

show that there is a reasonable probability that, but for counsel’s errors, he would not have

pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59

(1985). Petitioner has neither alleged nor shown that but for counsel’s failure to advise her

that she had a right to proceed to trial and confront her accusers, she would have insisted on

going to trial.

        Therefore, Petitioner is not entitled to relief on Ground Four.

       Accordingly, it is

       ORDERED AND ADJUDGED that Petitioner’s Amended Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (CV Doc. 5) is DENIED. The clerk

is directed to enter judgment against Petitioner and to close this case.

         CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL
                     IN FORMA PAUPERIS DENIED.

       IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal


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a district court’s denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue . . . only if the

applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

2253(c)(2). To make such a showing, Petitioner “must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong,”

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that “the issues presented were ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle,

463 U.S. 880, 893 n. 4 (1983)). Petitioner cannot make the requisite showing in these

circumstances. Finally, because Petitioner is not entitled to a certificate of appealability, she

is not entitled to appeal in forma pauperis.

       DONE and ORDERED in Tampa, Florida on January 28, 2013.




SA:sfc
Copy furnished to:
Pro Se Petitioner
Counsel of Record




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